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                                UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS


1.    DAVID SEMANS,
                                                         Case No. 4:21-cv-00078-ALM
2.                           Plaintiff,
                                                         STIPULATION OF DISMISSAL
3.    v.

4.    CHARTER COMMUNICATIONS,
                             Defendant.
5.                                                  6.

            Plaintiff, David Semans, and defendant Charter Communications, by and through their

     respective attorneys, HEREBY STIPULATE AND AGREE, that pursuant to Federal Rule of

     Civil Procedure 41(a)(1)(A)(ii), this action is dismissed with prejudice as to the claims of Plaintiff

     David Semans against defendant Charter Communications.

            IT IS SO STIPULATED.

     Dated: December 17, 2021               KIMMEL & SILVERMAN, P.C.

                                            By:    Jacob U. Ginsburg
                                                   Jacob U. Ginsburg
                                            Attorneys for Plaintiff




                                            THOMPSON COBURN LLP

                                            By:     Mackenzie S. Wallace
                                                    Mackenzie S. Wallace




                                            Attorneys for Defendant
